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March 18, 2020 i
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VIA CM/ECE Lace
Honorable Judge George B..Daniels

 

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United States District Court
Southern District of New York
500 Pearl Street - Courtroom 11A

New York, NY 10007 Dated:_MAR 1 9 2p

Re: Norris y. American Trash LLC, d/b/a American Trash Bar, et al
Case 1:18-cv-07750-GBD

Dear Judge Daniels:
The undersigned represents the Plaintiff in the above-captioned case matter.

Due to the ongoing health crisis caused by the COVID-19 pandemic, and the tumultuous
economic effects it is causing to virtually all businesses open to the public (including possible
complete closures), such as the business involved in this matter, Plaintiff's undersigned counsel
hereby respectfully requests that the Court grant a thirty (30) day stay of all deadlines and/or
Conference in this matter.

Further, since undersigned counsel is based in Florida, an in-person Conference would require
possible unsafe roundtrip travel from Florida to New York (in both of which official states of
emergency has been declared). In fact, recently a passenger on a similar JetBlue flight from New
York to Florida had tested positive for COVID-19. In addition, undersigned counsel suffers from an
underlying asthmatic-type health condition which, potentially, would be adversely affected by the
COVID-19 virus. However, in the event that the Court decides not to stay this matter, then, in the
alternative, undersigned counsel respectfully requests that any future Conference be conducted
telephonically, which is in accordance with SDNY’s Chief Judge Coleen McMahon’s recent March
13, 2020 Standing Order that “Judges are strongly encouraged to conduct court proceedings by
telephone or video conferencing where practicable.”

The Court may wish to note that this is undersigned counsel's first request to stay this matter.
Thank you for your consideration of this unexpected, but essential, request.

Sincerely,

By: /S/ B. Bradley Weitz
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